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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 Kate, et al.

                Plaintiffs,

                        vs.                  DECLARATION OF
                                             ROBERT DILLON, IV
 de Blasio, et al.
                                             Civil Action No. 1:21-cv-07863
                Defendants.


STATE OF NEW YORK                 )
                                  ) ss.:
COUNTY OF NEW YORK                )


   Robert Dillon, IV, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true:

   1. My name is Robert Ernest Dillon IV.

   2. I am a New York City Department of Education public school teacher.

   3. I work in the Morris Park section of The Bronx and teach computers, in addition

       to my many other duties using various systems and software essential to the

       operation of our school.

   4. I have been teaching for the New York City Department of Education for 23 years.

   5. I have sincere and firmly held religious objections to the COVID-19 vaccine.

   6. On 9/15/21 I timely submitted a valid religious exemption letter and a letter from

       an ordained minister through the DOE’s SOLAS system.
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      7. On 9/17/21 I received an email from solas_donotreply@schools.nyc.gov stating

         that I was denied as accommodating any religious exemptions would be an undue

         burden on the NYC school system. A true and accurate copy of the content of that

         email (cut and pasted) is attached as Exhibit A.

8.       I timely appealed within one school day on Sunday, 9/19/21.

9.       On 9/25/21 I received an email from vaccineappeals@scheinmanneutrals.com

stating: “Dear Robert Dillon, Enclosed, please find your decision of the Arbitrator from

Scheinman Arbitration and Mediation Services (SAMS).

10.      Attached to the email was a document signed by an arbitrator on 9/24/21. A true

and accurate copy of the document is attached as Exhibit B. It provided no explanation

but simply denied me.

11.      I was not offered a hearing at any point in the appeal process.

12.      The reason given for my initial denial was that the DOE “cannot offer another

         worksite as an accommodation, as that would impose an undue hardship (i.e.

         more than a minimal burden) on the DOE and its operations.”

13.      As part of my appeal, I submitted a letter explaining that the reason for rejection

         did not apply to me, given the fact that I was working on an SBO (a modification

         of our contract) and was capable of performing my duties “STARS programming,

         Google Domain management etc) remotely.

14.      I also attached documentation from my principal corroborating what I stated in

         my letter. He wrote:
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      “I am writing this letter on behalf of Robert Dillon, a pedagogue here at P.S. 83. It

      has come to my understanding that he is in the process of applying for an

      exemption to the vaccine mandate being enforced by the City of New York. As it

      stands now, the majority of Mr. Dillon’s work can be done remotely as he is the

      school’s programmer, scheduler and instructional technology specialist. A

      position that has been voted upon and approved by the UFT. This position

      requires most of his time to be spent behind a computer working with programs

      such as STARS, ATS, Skedula, New Visions, and the Google domain.

      The work performed by Mr. Dillon is vital to the overall operations of the school.

      At this point in time it would be too difficult to abruptly remove him from his

      position without causing a disruption to the structure of our daily work. If

      permissible, I would gladly allow Mr. Dillon to work remotely while still being an

      employee at PS 83.

15.   Given the obvious contradiction between the reason my religious exemption

      request was initially denied and the nature of my duties, it appears that the

      arbitrator was biased and/or did not read the documentation that I submitted.

16.   At no point in the process was any reference made to the sincerity of my beliefs

      nor to the degree to which I hold them. The sole reason given for being unable to

      grant my exemption request was that it would be a burden to place me elsewhere.

      Yet, I submitted signed documentation from my principal stating that it would be

      a burden to have to replace me. Just as A cannot be B, I cannot both be a burden

      to accommodate and a burden to not accommodate.
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17.   If I am unable to continue my work it will force my principal to move someone

      else out of the classroom in order to perform my duties. This will place an even

      greater strain on the school because other teachers will have to cover the classes

      of the teacher replacing me.

18.   Not only that, the duties I perform are oftentimes complex and require a level of

      knowledge and familiarity that will take my replacement time to master, if they

      are able to master them at all.

19.   Some of my responsibilities include programming special education students

      correctly so that the school is in compliance with mandates.

20.   My abrupt removal will make it likely that our school will not be in compliance in

      some areas and we may lose funding or be penalized in other ways.

21.   Additionally, many teachers rely on my technical expertise and often seek my

      assistance for various tech related issues. I am capable of doing this remotely, as

      evidenced by the fact that I did it successfully for the spring of 2020 and all of last

      school year.

22.   Therefore, removing me from my position will make the jobs of other teachers

      much more difficult, especially if the school must go remote at some point in the

      future.

23.   The loss of anywhere between 7,000-15,000 teachers next week, in addition to all

      the other DOE employees who are essential to the operation of the NYC DOE

      school system, is going to severely hamper the education of the children of New

      York City.
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24.   Most of us have worked tirelessly and safely in person throughout this pandemic.

      Allowing us to be removed because we are not in compliance with a mandate that

      is not in effect nor deemed necessary anywhere else within hundreds (if not

      thousands) of miles, is unfair to both them and the children whom they serve.

25.   I pray that the Court can help us.




                                                     ________________

                                                     Robert Dillon
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               EXHIBIT A
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(Cut and pasted from email)

Dear ROBERT DILLON,

We have reviewed your application and supporting documentation for a religious

exemption from the DOE COVID-19 vaccine mandate. Your application has failed to

meet the criteria for a religious based accommodation because, per the Order of the

Commissioner of Health, unvaccinated employees cannot work in a school building

without posing a direct threat to health and safety. Due to the configuration for the 2021

- 2022 school year, which includes no remote classwork, we cannot offer another

worksite as an accommodation, as that would impose an undue hardship (i.e. more than

a minimal burden) on the DOE and its operations.



This application was reviewed in accordance with applicable law as well as the

Arbitration Award in the matter of the UFT and the Board of Education regarding the

vaccine mandate.

Under the terms of the Arbitration Award, you may appeal this denial to an independent

arbitrator. If you wish to appeal, you must do so within one school day of this notice by

logging into SOLAS https://dhrnycaps.nycenet.edu/SOLAS and using the option "I

would like to APPEAL". As part of the appeal, you may submit additional

documentation and also provide a reason for the appeal.

Sincerely,



HR Connect

Medical, Leaves, and Records Administration

Please do not reply to this message via e-mail. This email address is automated.
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